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                   IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF NEW YORK


 SIGNIFY NORTH AMERICA CORPORATION
 and SIGNIFY HOLDING B.V.

                                Plaintiffs,

                          vs.                               C.A. No. 1:19-cv-5516 (DLC) (KHP)

 AXIS LIGHTING INC.,

                                Defendant.




                 [PROPOSED] STIPULATED ORDER FOR 60-DAY STAY
                           AND AMENDED SCHEDULE

       WHEREAS, Plaintiffs Signify North America Corporation and Signify Holding B.V.

(“Signify”) and Defendant Axis Lighting Inc. (“Axis”) are engaged in a patent litigation, Signify

North America Corporation and Signify Holding B.V. v. Axis Lighting Inc., No. 1:19-CV-5516

(DLC) (KHP) (S.D.N.Y.);

       WHEREAS, the parties are engaged in ongoing settlement efforts to resolve this matter;

       WHEREAS, to facilitate those ongoing settlement efforts between the parties and focus

their time and efforts toward the same, the parties conferred and, on December 29, 2020, agreed

to a 60-day stay and a corresponding 60-day extension of current deadlines in the case;

       NOW THEREFORE, the parties hereby stipulate, agree, and request that this Court enter

an order:

       1.       Staying this action until and through Friday, February 26, 2021, during which time

neither party will conduct discovery or file motions; and

       2.       Extending all current deadlines in the case for sixty (60) days, including amendment

of the case schedule as follows:
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               EVENT                   CURRENT DEADLINE      PROPOSED DEADLINE

    Telephone settlement status          January 12, 2021     To be rescheduled by
    conference (D.I. 75)                    at 4:00 pm       Magistrate Judge Parker

    Defendant’s      responding          February 5, 2021         April 6, 2021
    Markman brief due (D.I. 119)

    Plaintiffs’ reply Markman            February 19, 2021        April 20, 2021
    brief due (D.I. 119)

    All fact discovery must be            March 26, 2021          May 25, 2021
    completed

    Plaintiffs’ identification of         April 23, 2021          June 22, 2021
    experts and disclosure of
    expert testimony

    Defendant’s identification of          May 14, 2021           July 13, 2021
    experts and disclosure of
    expert testimony

    All discovery       must     be        June 11, 2021         August 10, 2021
    completed

    Serve any motion            for        July 9, 2021         September 7, 2021
    summary judgment

    Serve opposition to any                July 30, 2021       September 28, 2021
    motion for summary judgment

    Serve reply to any motion for         August 13, 2021       October 12, 2021
    summary judgment

    In the event no motion is filed,       July 9, 2021         September 7, 2021
    Joint Pretrial Order must be
    filed by



The above-captioned case is stayed until and
through February 26, 2021. The deadlines
proposed in this order are adopted. There
will be no further extension of the September 7
deadlines.
12.30.2020.




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Dated: December 29, 2020

STIPULATED and AGREED to by:

 /s/ C. Brandon Rash                           /s/ Michael K. Friedland

 C. Brandon Rash (pro hac vice)                Cheryl T. Burgess
 M. Andrew Holtman (pro hac vice)              Michael K. Friedland
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 COUNSEL FOR PLAINTIFFS
 Signify North America Corporation and
 Signify Holding B.V.



                                         ORDER


 SO ORDERED.

 Dated:________________, 2020

                                           HON. DENISE COTE
                                           U.S. DISTRICT COURT JUDGE




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